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 9                           UNITED STATES DISTRICT COURT
10                         SOUTHERN DISTRICT OF CALIFORNIA
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12    CALIFORNIANS FOR EQUAL RIGHTS                        Case No. 24-cv-484-MMA-MSB
      FOUNDATION,
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                                        Plaintiff,         ORDER GRANTING JOINT
14                                                         MOTION TO DISMISS; AND
      v.
15
                                                           [Doc. No. 27]
      CITY OF SAN DIEGO, et al.,
16
                                     Defendants.           DENYING MOTION FOR
17
                                                           JUDGMENT ON THE PLEADINGS
18                                                         AS MOOT
19
                                                           [Doc. No. 25]
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22          On March 12, 2024, Plaintiff Californians for Equal Rights Foundation filed a
23    complaint against Defendants City of San Diego (the “City”), Housing Authority of the
24    City of San Diego (“Housing Authority”), and San Diego Housing Commission
25    (“Housing Commission” and collective with the City and Housing Commission,
26    “Defendants”), alleging one claim for violation of the Equal Protection Clause of the
27    Fourteenth Amendment. Doc. No. 1. On May 1, 2024, Defendants filed answers. Doc.
28    Nos. 11, 12.


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 1          On June 18, 2024, the City and Housing Authority filed a motion for judgment on
 2    the pleadings pursuant to Federal Rule of Civil Procedure 12(c). Doc. No. 25.
 3    According to the City and Housing Authority, they were erroneously named as
 4    defendants, as they did not create the First-Time Homebuyer Program and do not have a
 5    relationship with the Housing Commission sufficient to provide a basis for liability
 6    against them. See Doc. No. 25-1. On June 28, 2024, the Housing Commission filed a
 7    notice of joinder in support of the motion. Doc. No. 26.
 8          The parties have since filed a stipulation and joint motion to dismiss. Doc. No. 27.
 9    According to the filing, the parties have agreed to dismiss the City and Housing
10    Authority. Id. at 2. They also agree that in light of the stipulation for dismissal, the City
11    and Housing Authority’s motion for judgment on the pleadings should be denied as moot.
12    Id.
13          Therefore, upon due consideration, good cause appearing, the Court GRANTS the
14    joint motion and DIMISSES Plaintiff’s claim against the City and Housing Authority.
15    The Court further DENIES their motion for judgment on the pleadings as moot.
16          IT IS SO ORDERED.
17    Dated: July 9, 2024
18                                                   _____________________________
19                                                   HON. MICHAEL M. ANELLO
20                                                   United States District Judge

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